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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Southern District of __________
                                                 __________              Texas

                  United States of America                        )
                             v.                                   )
              Carlos RODRIGUEZ-Delagdo
                                                                  )      Case No.
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  August 26, 2022              in the county of                Webb            in the
     Southern          District of            Texas           , the defendant(s) violated:

            Code Section                                                    Offense Description
Title 18 USC 922 (g)(5)(A)                     Possession of Ammunition by an Illegal Alien




         This criminal complaint is based on these facts:
See Attachment A Sheet




         ✔ Continued on the attached sheet.
         u

                                                                                             /s/ Gerardo Morales
                                                                                             Complainant’s signature

                                                                                    Task Force Officer Gerardo Morales
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             08/26/2022
                                                                                                Judge’s signature

City and state:                          Laredo, Texas                        Christopher dos Santos, U.S. Magistrate Judge
                                                                                              Printed name and title
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                                     Attachment A
On August 26, 2022, the Laredo Police Department (LPD) Emergency Communication Center
received a call for reported suspicious activity. Caller reported witnessing individuals being
forced into a motor vehicle. The incident occurred on the 5300 block of Marcella Ave. Laredo,
TX 78041.
The caller described the vehicles involved as black in color Dodge pickup and black in color
Lincoln 4-door. An LPD Investigator, who was in the area, observed Dblack in color Lincoln 4-
door vehicle matching the description given by the caller. The LPD Investigator approached the
vehicle and detained the sole occupant, later identified as Carlos RODRIGUEZ-Delgado.
LPD Patrol Officers arrived at the scene and assisted with the investigation. An LPD Officer
observed, in plain view, an AR-15 style rifle on the driver’s side floorboard. The firearm was
loaded with 28 rounds of 5.56 caliber Aguilar ammunition. LPD Officers advised RODRIGUEZ-
Delgado of his Miranda Rights. RODRIGUEZ-Delgado was suspected of being a Mexican
Citizen illegally in the United States. LPD Officers then transported RODRIGUEZ-Delgado to
LPD for further questioning.
LPD requested the assistance from the Bureau of Alcohol, Tobacco, Firearms and Explosives
(ATF). ATF Task Force (TFO) Gerardo Morales responded to LPD and assisted LPD
Investigators by interviewing RODRIGUEZ-Delgado.
RODRIGUEZ-Delgado admitted to being illegally in the United States with no immigration
documents, possessing the firearm and ammunition in question and knowing that he was
prohibited from possessing a firearm. RODRIGUEZ-Delgado stated that he is involved in human
smuggling and is paid $100 for each person smuggled. RODRIGUEZ-Delgado admitted to
possessing and using the firearm as protection.
A preliminary examination of the ammunition indicated that the ammunition was manufactured
outside the state of Texas therefore traveling in or affecting interstate commerce.
